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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

                                                                       CIVIL ACTION
PLAINTIFF(S)
                                                                       No.     aS-\^7
VERSUS

                                                                       SECTION:             fv C3^
DEFENDANT(S)

                                              NOTICE OF SUBMISSION


         PLEASE TAKE NOTICE that the Motion 'fo                         r)iv\t>:carr-                 IS



hereby set for submission before District Judge/Magistrate Judge                                 on


                                         at             .m.




                                                                   U'fi, wiajtlaias
                                                                 (Signature)

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                                                                 (Name)                 ^

                                                                          Grove, Air.
                                                                 (Address)

                                                                                  VA
                                                              (City)             (State)      (Zip)


                                                                 (Telephone)
CeRTlFICATE OF SERVICE


I hereby certify that I have served a copy
of this document on all counsel of record

either in person or by mailing it postage
prepaid on this                 day of
                         .,20_^


                  (SIGNATURE)
